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THIS ORDER IS SIGNED AND ENTERED.




                                                                 __________________________________
Dated: January 5, 2017                                                  Hon. Catherine J. Furay
                                                                    United States Bankruptcy Judge
________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT FOR THE
                                 WESTERN DISTRICT OF WISCONSIN


IN RE                                                  Chapter: 13
Patrick A. Miesbauer and Amy L. Miesbauer
                                                       Case No. 16-10057-cjf
          Debtors.


 ORDER DENYING NATIONSTAR MORTGAGE LLC RESOLVING MOTION FOR RELIEF
                      FROM THE AUTOMATIC STAY

          Pursuant to the motion of Nationstar Mortgage LLC, its successors and/or assignees (hereinafter

“the movant”) with respect to the property located at 13653 Elmwood Rd, Butternut, WI 54514-8642, this

matter was heard on January 3, 2017, the movant appearing through its counsel, Gray & Associates,

L.L.P., by Brian D. Perhach, and the debtors appearing through Reed Peterson & Associates, by Reed J.

Peterson , and upon the arguments and statements of counsel and all the files, records and proceedings

herein,

          IT IS HEREBY ORDERED that the motion is denied subject to the following terms and

provisions of this order:

Drafted by:

Brian D. Perhach
Gray & Associates, L.L.P.
16345 West Glendale Drive
New Berlin, WI 53151-2841
Phone: (414) 224-8404
Fax: (414) 224-1279
Email: bperhach@gray-law.com

Gray & Associates, L.L.P. is attempting to collect a debt and any information obtained will be used for
that purpose. If you have previously received a discharge in a chapter 7 bankruptcy case, this
communication should not be construed as an attempt to hold you personally liable for the debt.
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        1.      That the movant may file a supplemental claim for the post-petition arrearage which

exists through the end of January 3, 2017 in the amount of $2,492.59.

The arrearage is itemized as follows:

                  9/1/16 through 12/1/16                                                $2,642.76
                  4 mortgage payments @ $660.69
                  Credits / Suspense                                                     (515.17)
                  Attorney Fees and Costs                                                1,026.00
                  Payment received 12/7/2016                                             (661.00)
                  TOTAL ARREARAGE                                                       $2,492.59

        2.      That commencing in January 2017, and continuing through to the end of June 2017, the

debtor shall make all monthly mortgage payments to the movant in sufficient time to be received on or

before the 16th day of each month in which each such payment is due. In the event any such payment is

not received in a timely manner, counsel for the movant may submit an affidavit of default and proposed

order for immediate relief from the automatic stay to the court for signature.

        3.      That commencing in July 2017, the debtor shall make all monthly mortgage payments to

the movant in sufficient time to be received on or before the 16th day of each month in which each such

payment is due. In the event any such payment is not received in a timely manner, counsel for the

movant may request by letter another hearing upon the motion for relief from the automatic stay.

        4.      That the debtors shall voluntarily increase the payments to the trustee as necessary to pay

the supplemental claim and ensure that the plan is adequately funded and remains feasible.

        5.      That pending further notice, the amount of the monthly mortgage payment is $660.69 and

payments shall be made to the movant at Nationstar Mortgage LLC, PO Box 619094 Dallas, TX

75261-9741.



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